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                       EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  US DOMINION, INC., DOMINION                       )
  VOTING SYSTEMS, INC., and                         )
  DOMINION VOTING SYSTEMS                           )   No. 1:21-cv-02131-CJN-MAU
  CORPORATION,                                      )
                                                    )
          Plaintiffs,                               )   Judge Carl J. Nichols
                                                    )
              v.                                    )   Hon. Magistrate Moxila A. Upadhyaya
                                                    )
  PATRICK BYRNE,                                    )
                                                    )
                                                    )
         Defendant.

             THIRD SUPPLEMENTAL BRIEF IN SUPPORT OF
      DOMINION’S CURRENTLY PENDING MOTION TO DISQUALIFY AND
       MOTION TO ENFORCE PROTECTIVE AND STATUS QUO ORDERS

       This Court’s instructions were clear: “Defendant and ALL of his counsel,” including

attorney John Case, who apparently agreed to abide by the Protective Order, “are expressly

prohibited from producing any discovery obtained from Plaintiffs here in the Peters Criminal Case

in Colorado pending resolution” of Ms. Lambert’s Emergency Motion to Lift Protective Order

(Dkt. 116). July 23, 2024 Minute Order, 1:21-cv-02131 (emphasis in original).

       Tina Peters’ trial started last week in Colorado. And despite this Court’s clear instruction,

Mr. Case’s co-counsel, Daniel Hartman, argued at length yesterday to admit Dominion Discovery

Materials as evidence. The documents were marked confidential and bore the bates stamps from

this litigation. When the trial judge pointed these markings out to Mr. Hartman, he responded: “I

can assure you, Your Honor, I printed these off the Internet, directly. So if they were confidential,

my understanding they were in information that Sheriff Dar Leaf previously released publicly.”

These events were broadcast live on television, and Mr. Case did nothing to stop Mr. Hartman




                                                1
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even though he was in courtroom.1

         Mr. Hartman’s actions and Mr. Case’s acquiescence clearly violate both the letter and spirit

of the Court’s July 23 Minute Order and the Protective and Status Quo Orders. Together, these

orders: (1) prohibit the dissemination of any discovery produced in the litigation outside of the

litigation, see July 23, 2024 Minute Order, 1:21-cv-02131; Dkt. 79, Protective Order at ¶¶ 1, 27;

(2) require Ms. Lambert and Mr. Case to take “reasonable efforts to prevent [further] disclosure”

by “each unauthorized person who receives the information.” Dkt. 79, Protective Order at ¶ 27

(emphasis added); and (3) prohibit the dissemination of “Dominion Litigation Documents, existing

in any form whatsoever, in the possession of Ms. Lambert, Mr. Byrne, or any associate or affiliate

of Ms. Lambert or Mr. Byrne,” Dkt. 77, Status Quo Order at ¶ 6(b) (emphasis added).

         It makes no difference that Mr. Case’s co-counsel, and not Mr. Case himself, sought to

produce those materials, not only because Mr. Case did nothing to stop him. Mr. Hartman is also

an “associate or affiliate” of both Mr. Case and Ms. Lambert in the Tina Peters matter and is Ms.

Lambert’s counsel in her pending criminal matter in Michigan. Ex. 1. Nor does it make a

difference that Ms. Lambert had previously leaked these materials to Sheriff Dar Leaf (in violation

of the Protective Order, no less). The materials were produced in this litigation and are subject to

this Court’s orders.

         Absent immediate action from this Court, Ms. Lambert and Mr. Case will continue to flout

this Court’s orders.

    Dated: August 6, 2024                            Respectfully submitted,

                                              By: /s/ Davida Brook
                                                  Laranda Walker (D.C. Bar No. TX0028)


1
  These events are also a matter of public record. Dominion has requested a certified transcript of
these proceedings but did not want to delay this filing for it. Dominion will supplement with the
certified transcript as soon as Dominion obtains it.

                                                 2
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                                    Attorneys for Plaintiffs




                                3
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of August 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.



                                                                            /s/ Davida Brook




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  US DOMINION, INC., DOMINION                        )
  VOTING SYSTEMS, INC., and                          )
  DOMINION VOTING SYSTEMS                            )   No. 1:21-cv-02131-CJN-MAU
  CORPORATION,                                       )
                                                     )
            Plaintiffs,                              )   Judge Carl J. Nichols
                                                     )
                v.                                   )   Hon. Magistrate Moxila A. Upadhyaya
                                                     )
  PATRICK BYRNE,                                     )
                                                     )
                                                     )
         Defendant.

  THIRD SUPPLEMENTAL DECLARATION OF DAVIDA BROOK IN SUPPORT
    OF DOMINION’S CURRENTLY PENDING MOTION FOR PROTECTIVE
    RELIEF AND TO DISQUALIFY COUNSEL AND MOTION TO ENFORCE
               PROTECTIVE AND STATUS QUO ORDERS

I, Davida Brook, hereby declare and state as follows:

       1.        I am an attorney at Susman Godfrey L.L.P., and counsel for plaintiffs, Dominion,

in the above-captioned action. I am a member in good standing with the bar of the State of

California and am admitted to practice in this Court. I am over the age of eighteen, attest to the

following matters from personal knowledge, and if called as a witness, could competently testify

to the matters set forth herein.

       2.        Attached hereto as Exhibit 1 is a true and correct copy of the docket sheet’s party

information in People v. Stefanie Lambert, Case No. 2023-285759-FH (Mich. Oakland Cir. Ct.).

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Signed this 6th day of August, 2024, at Los Angeles, California.

                                                              /s/Davida Brook
                                                              Davida Brook



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                        EXHIBIT 1
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    Case Number
    2023-285759-FH
    Entitlement
    PEOPLE vs. LAMBERTJUNTTILA STEFANIE LYNN
    Judge Name
    JEFFERY S. MATIS
    Case E-Filed
    YES
    Case Filed
    08/03/2023
    Case Disposed
    00/00/0000


      Party Type                 Party name                 Bar #   Attorney

      Plaintiff - 0001           PEOPLE                     57726   DALE J.,HILSON,

      Defendant - 0005           NONE                       78254   CAMILLA ,BARKOVIC,

      Defendant - 0004           LAMBERTJUNTTILA            52632   DANIEL J.,HARTMAN,
                                 STEFANIE LY

      Defendant - 0003           JUNTTILA STEFANIE LYNN     52632   DANIEL J.,HARTMAN,

      Defendant - 0002           LAMBERT STEFANIE LYNN      52632   DANIEL J.,HARTMAN,

      Defendant - 0001           LAMBERTJUNTTILA            52632   DANIEL J.,HARTMAN,
                                 STEFANIE LYNN




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